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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                )
In the Matter of the            )
Federal Bureau of Prisons’      )
Execution Protocol Cases        )
                                )
                                                             Case No. 19-mc-0145 (TSC)
LEAD CASE: Roane et al. v.      )
Barr                            )
                                )
                                )
THIS DOCUMENT                   )
RELATES TO:                     )
                                )
ALL CASES


 REDACTED AMENDED COMPLAINT FOR INJUNCTIVE AND DECLARATORY
                          RELIEF

                                    I.     Nature of Action

    1.     Plaintiffs Anthony Battle, Brandon Bernard, Alfred Bourgeois, Chad Fulks, Orlando

C. Hall, Norris G. Holder, Jr., Dustin Honken, Corey Johnson, Daniel Lee, Keith Nelson, Jeffrey

Paul, Wesley Purkey, James H. Roane, Jr., Julius Robinson, Richard Tipton, and Bruce C.

Webster bring this action seeking injunctive and declaratory relief for: (a) violations and

threatened violations of their right to due process under the Fifth Amendment of the U.S.

Constitution; (b) violations and threatened violations of their right to be free from cruel and

unusual punishment under the Eighth Amendment of the U.S. Constitution; (c) violations and

threatened violations of their right of access to counsel and the courts under the First, Fifth, and

Sixth Amendments of the U.S. Constitution; and (d) violations and threatened violations of the

Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”), the Federal Death Penalty Act,

18 U.S.C. § 3591 et seq. (“FDPA”), the Food, Drug, and Cosmetic Act 21, U.S.C. § 301 et seq.

(“FDCA”), and the Controlled Substances Act, 21 U.S.C. § 801 et seq. (“CSA”).
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   2.     Plaintiffs Mr. Battle, Mr. Bernard, Mr. Bourgeois, Mr. Fulks, Mr. Hall, Mr. Holder,

Mr. Lee, Mr. Nelson, Mr. Paul, Mr. Purkey, Mr. Robinson, and Mr. Webster were sentenced to

death pursuant to the FDPA. Plaintiffs Mr. Honken, Mr. Johnson, Mr. Roane, Mr. Robinson,

and Mr. Tipton were sentenced to death pursuant to the Anti-Drug Abuse Act of 1988 (“ADAA”),

21 U.S.C. § 848(e), which was part of the CSA. The sentences of all Plaintiffs are governed by

the FDPA. Defendants include the individuals who are charged with carrying out the Plaintiffs’

death sentences.

   3.     On July 25, 2019, the United States Department of Justice (“DOJ”) announced that

executions of federal prisoners, including Plaintiffs, will be administered by the Federal Bureau

of Prisons (“BOP”) using a revised addendum to the BOP Execution Protocol (the “2019

Addendum”) released the same day. The 2019 Addendum provides that all federal executions

will be conducted via a uniform procedure utilizing intravenous injection of five grams of

Pentobarbital Sodium (“pentobarbital”), a controlled substance under the CSA.

   4.     On November 13, 2019, the DOJ publicly filed the Administrative Record, which

included a revised BOP Execution Protocol that replaced the prior version. (The new BOP

Execution Protocol announced by the DOJ and the 2019 Addendum are sometimes referred to

herein collectively as the “2019 Protocol.”)

   5.     Upon information and belief, Defendants intend to carry out the execution of Plaintiffs

pursuant to the 2019 Protocol, and, as required under the 2019 Protocol, the executions of the

Plaintiffs will be administered at the United States Penitentiary in Terre Haute, Indiana (“USP

Terre Haute”).




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   6.     The sentence of each Plaintiff has become final (with the exception of Mr. Webster,

whose death sentence was vacated by the District Court for the Southern District of Indiana and

is the subject of a pending appeal before the Seventh Circuit).

   7.     As described more fully below, the implementation and use of the 2019 Protocol

violates Plaintiffs’ rights under the First, Fifth, Sixth, and Eighth Amendments of the U.S.

Constitution, and violates the APA, the FDPA, the FDCA, and the CSA.

   8.     Accordingly, Plaintiffs seek the following relief in this action: (a) a preliminary and

permanent injunction preventing the Defendants from executing them pursuant to the 2019

Protocol; (b) an order declaring that the implementation or use of the 2019 Protocol violates

Plaintiffs’ rights under the First, Fifth, Sixth, and Eighth Amendments of the U.S. Constitution;

(c) an order declaring that the adoption and use of the 2019 Protocol violates the APA, the FDPA,

the FDCA, and the CSA; and (d) any such other equitable relief as this Court deems just and

proper.

   9.     The claims in this Amended Complaint are cognizable under the constitutional and

statutory grounds identified herein and described in more detail below. This action is not, and

should not be treated as, a successor habeas corpus petition. Plaintiffs are not challenging

through this action the validity of their convictions or death sentences. Rather, Plaintiffs assert

that the 2019 Protocol, by which—upon information and belief—their executions are to be

implemented, violates the Constitution, the APA, the FDPA, the FDCA, the CSA, and other

applicable laws.




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                                         II.    Parties

   10.     Plaintiff Anthony Battle is a United States citizen whose death sentence was imposed

in the State of Georgia. Mr. Battle is incarcerated at the United States Medical Center for Federal

Prisoners in Springfield, Missouri under the control and supervision of the BOP, an agency within

the DOJ.

   11.     Plaintiff Brandon Bernard is a United States citizen whose death sentence was imposed

in the State of Texas. Mr. Bernard is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   12.     Plaintiff Alfred Bourgeois is a United States citizen whose death sentence was imposed

in the State of Texas. Mr. Bourgeois is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   13.     Plaintiff Chad Fulks is a United States citizen whose death sentence was imposed in

the State of South Carolina. Mr. Fulks is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   14.     Plaintiff Orlando C. Hall is a United States citizen whose death sentence was imposed

in the State of Texas. Mr. Hall is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   15.     Plaintiff Norris G. Holder, Jr. is a United States citizen whose death sentence was

imposed in the State of Missouri. Mr. Holder is incarcerated at USP Terre Haute under the

control and supervision of the BOP, an agency within the DOJ.

   16.     Plaintiff Dustin Honken is a United States citizen whose death sentence was imposed

in the State of Iowa. Mr. Honken is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.




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   17.     Plaintiff Corey Johnson is a United States citizen whose death sentence was imposed

in the Commonwealth of Virginia. Mr. Johnson is incarcerated at USP Terre Haute under the

control and supervision of the BOP, an agency within the DOJ.

   18.     Plaintiff Daniel Lee is a United States citizen whose death sentence was imposed in the

State of Arkansas. Mr. Lee is incarcerated at USP Terre Haute under the control and supervision

of the BOP, an agency within the DOJ.

   19.     Plaintiff Keith Nelson is a United States citizen whose death sentence was imposed in

the State of Missouri. Mr. Nelson is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   20.     Plaintiff Jeffrey Paul is a United States citizen whose death sentence was imposed in

the State of Arkansas. Mr. Paul is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   21.     Plaintiff Wesley Purkey is a United States citizen whose death sentence was imposed

in the State of Missouri. Mr. Purkey is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   22.     Plaintiff James H. Roane, Jr. is a United States citizen whose death sentence was

imposed in the Commonwealth of Virginia. Mr. Roane is incarcerated at USP Terre Haute under

the control and supervision of the BOP, an agency within the DOJ.

   23.     Plaintiff Julius Robinson is a United States citizen whose death sentence was imposed

in the State of Texas. Mr. Robinson is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.




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   24.     Plaintiff Richard Tipton is a United States citizen whose death sentence was imposed

in the Commonwealth of Virginia. Mr. Tipton is incarcerated at USP Terre Haute under the

control and supervision of the BOP, an agency within the DOJ.

   25.     Plaintiff Bruce C. Webster is a United States citizen whose death sentence was imposed

in the State of Texas. Mr. Webster is incarcerated at USP Terre Haute under the control and

supervision of the BOP, an agency within the DOJ.

   26.     Defendant William P. Barr is the Attorney General of the United States. Plaintiffs were

remanded into the Attorney General’s custody upon their conviction and the imposition of their

death sentences. Under the 2019 Protocol, Attorney General Barr is the executive responsible

for carrying out sentences of death against federal prisoners. Attorney General Barr is sued here

in his official capacity for the purpose of obtaining declaratory and injunctive relief.

   27.     Defendant Timothy Shea is the Acting Administrator of the U.S. Drug Enforcement

Administration (“DEA”). In that role, Mr. Shea is responsible for overseeing all controlled

substances, including pentobarbital (a Schedule II drug under the CSA). Mr. Shea is sued here

in his official capacity for the purpose of obtaining declaratory and injunctive relief.

   28.     Defendant Stephen M. Hahn, M.D., is the Commissioner of Food and Drugs at the Food

and Drug Administration (“FDA”). As Commissioner, Defendant Hahn is responsible for

overseeing drugs that are regulated by the FDA and that otherwise fall under the FDCA, 21

U.S.C. § 301 et seq., including compounded and non-compounded pentobarbital. Dr. Hahn is

sued here in his official capacity for the purpose of obtaining declaratory and injunctive relief.

   29.     Defendant Michael Carvajal is the Director of the United States Bureau of Prisons. As

such, he is charged with prescribing and directing the promulgation of rules and regulations for

the BOP, including the rules and regulations for the conduct of prison operations and, under the



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2019 Protocol, execution procedures. Mr. Carvajal is sued here in his official capacity for the

purpose of obtaining declaratory and injunctive relief.

    30.     Defendant Jeffrey E. Krueger is the Regional Director of the North Central Region of

the BOP. Mr. Krueger is responsible for operations at USP Terre Haute, and plays a role in the

promulgation of rules and regulations for USP Terre Haute, including rules and regulations for

the conduct of prison operations and executions. Mr. Krueger is sued here in his official capacity

for the purpose of obtaining declaratory and injunctive relief.

    31.     Defendant Donald W. Washington is the Director of the U.S. Marshals Service

(“USMS”) and is responsible for all agency operations. Under Section 3596 of the FDPA, a U.S.

Marshal “shall supervise implementation” of Plaintiffs’ death sentences “in the manner

prescribed by the law of the State in which the sentence is imposed.” Mr. Washington is sued

here in his official capacity for the purpose of obtaining declaratory and injunctive relief.

    32.     Defendant Nicole C. English is the Acting Assistant Director, Health Services Division,

of the BOP. Ms. English is responsible for overseeing the provision of medical care to prisoners

at all BOP facilities, including USP Terre Haute, and for promulgating and implementing BOP

policies with respect to medical care provided by the BOP. Ms. English is sued here in her

official capacity for the purpose of obtaining declaratory and injunctive relief.

    33.     Defendant T.J. Watson is the Complex Warden of USP Terre Haute. Mr. Watson is

responsible for the management, oversight and operations at USP Terre Haute, including the

oversight and implementation of executions. Mr. Watson is sued here in his official capacity for

the purpose of obtaining declaratory and injunctive relief.

    34.     Defendant William Wilson, M.D., is the Clinical Director at USP Terre Haute. In that

position, he is responsible for overseeing the provision of medical care to prisoners at that facility.



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Dr. Wilson is sued here in his official capacity for the purpose of obtaining declaratory and

injunctive relief.

    35.     The Defendants identified in Paragraphs 29-30, 32-34 above will be referred to below

as the “BOP Defendants.”

    36.     Defendants John Does I - X (the “John Doe Defendants”) are employed by, or have

contracted with, the BOP to provide consultations for, prepare for, and/or carry out the Plaintiffs’

executions. The Plaintiffs do not know, and the BOP Defendants have refused to reveal, the

identities or positions of the John Doe Defendants. To the extent the John Doe Defendants are

federal government employees, they are sued here in their official capacities for the purpose of

obtaining declaratory and injunctive relief.

    37.     Upon information and belief, unless preliminarily and permanently enjoined, the BOP

Defendants will act in their respective official capacities and under the authority of federal law

in executing the Plaintiffs, in violation of the Plaintiffs’ constitutional and/or statutory rights.

The foregoing allegation applies to the John Doe Defendants to the extent they are federal

government employees.

                                 III.    Jurisdiction and Venue

    38.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and 28 U.S.C.

§ 1343 because this action arises and seeks relief under the laws and Constitution of the United

States, specifically, the First, Fifth, Sixth, and Eighth Amendments of the U.S. Constitution, the

APA, 5 U.S.C. §§ 702-706, 28 U.S.C. § 2201 (declaratory relief), and 28 U.S.C. § 2202

(injunctive relief).

    39.     Venue is proper under 28 U.S.C. § 1391(b)(2) because the BOP headquarters is in this

District and a substantial part of the events giving rise to the claims made herein by Plaintiffs,




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including the formulation and authorization of the 2019 Protocol, took place and continue to take

place in this District.

                                  IV.     Factual Background

  A.        The History of the Federal Lethal Injection Protocol

    40.     Beginning in 1937, Congress required federal executions to be conducted in the manner

prescribed by the state of conviction. See 50 Stat. 304 (formerly 18 U.S.C. § 542 (1937)),

recodified as 62 Stat. 837 (formerly 18 U.S.C. § 3566) (the “1937 Act”). Upon information and

belief, the USMS supervised the implementation of federal executions pursuant to the 1937 Act.

    41.     The death penalty was briefly held unconstitutional. See Furman v. Georgia, 408 U.S.

238 (1972). The Supreme Court’s decision in Gregg v. Georgia, 428 U.S. 153 (1976), reaffirmed

the constitutionality of the death penalty.

    42.     In 1984, Congress repealed the 1937 Act, leaving the federal government without a

mechanism for carrying out executions. In 1988, Congress passed the Anti-Drug Abuse Act,

which reinstated the death penalty for certain federal crimes but did not specify a procedure for

implementation.

    43.     On November 30, 1992, the DOJ published a proposed rule seeking to “establish[]

procedures” for carrying out federal death-penalty sentences. Implementation of Death Sentences

in Federal Cases, 57 Fed. Reg. 56,536 (Nov. 30, 1992) (to be codified at 28 C.F.R. pt. 26). The

DOJ received and considered comments from (among others) medical associations, physicians,

criminal defense attorneys, and advocates for prisoners’ rights.

    44.     On February 18, 1993, the DOJ issued a set of regulations, referred to as the “Final

Rule,” that purported to establish a protocol for carrying out the executions of prisoners

“sentenced to death for commission of an offense described in any federal statute.” 28 C.F.R.

§ 26.1. The Final Rule provided that executions would take place at a federal prison by

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“intravenous injection of a lethal substance.” Id. § 26.3(a)(4). The Final Rule provided little

detail about the manner of execution and did not identify the drug or drugs to be used in

executions. In addition, the Final Rule did not provide for any role for the USMS in connection

with the implementation of death sentences.

   45.    In 1994, Congress enacted the FDPA, establishing that federal death sentences shall be

implemented as follows:

             When the [death] sentence is to be implemented, the Attorney
             General shall release the person sentenced to death to the custody of
             a United States marshal, who shall supervise implementation of the
             sentence in the manner prescribed by the law of the State in which
             the sentence is imposed.

18 U.S.C. § 3596(a). The FDPA superseded the Final Rule and once again assigned to the USMS

sole responsibility and authority to supervise the implementation of federal death sentences.

   46.    The FDPA provides only one exception to this “law of the State” requirement: “If the

law of the State does not provide for implementation of a sentence of death, the court shall

designate another State, the law of which does provide for the implementation of a sentence of

death, and the sentence shall be implemented in the latter State in the manner prescribed by such

law.”    18 U.S.C. § 3596(a).     The FDPA therefore does not provide or contemplate the

establishment of a separate, uniform federal execution protocol or procedure.

   47.    The FDPA also does not grant any authority to the BOP to create a uniform federal

execution protocol, set execution dates, times, or places, or administer executions.

   48.    Following enactment of the FDPA in 1994, there were several legislative attempts, all

supported by the DOJ and the BOP, to amend the FDPA to eliminate the requirement that death

sentences be implemented “in the manner prescribed by the law of the State in which the sentence

is imposed,” and, instead, grant authority to the BOP to devise and implement procedures and

protocols for the executions of prisoners sentenced under the FDPA. All of those efforts failed.

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None of the proposed amendments to the FDPA were enacted by Congress, and the FDPA

continues to require the federal government to carry out executions in the manner prescribed by

the law of the state in which the prisoner’s sentence was imposed and continues to assign sole

authority and responsibility to the USMS to supervise the implementation of federal death

sentences.

   49.    In 2004, the DOJ, without notice or comment, adopted a new BOP Execution Protocol

for carrying out federal death penalty sentences (the “2004 Protocol”). The 2004 Protocol

included additional detail about how executions would be administered, but was silent about the

drug or drugs to be used in executions.

   50.    In December 2005, several of the Plaintiffs initiated this action by challenging the 2004

Protocol as violating the APA, the CSA, and their rights pursuant to the Fifth and Eighth

Amendments of the U.S. Constitution. This Court issued preliminary injunctions preventing the

executions of those Plaintiffs during the pendency of the litigation.

   51.    While this litigation was pending, the BOP updated the 2004 Protocol by issuing

addenda in 2007 and 2008 (the “2008 Addendum”). The 2008 Addendum specified that

executions would be carried out using three drugs: sodium pentothal, pancuronium bromide, and

potassium chloride. (The 2004 Protocol and 2008 Addendum will collectively be referred to as

the “2008 Protocol.”)

   52.    In May 2011, the BOP announced that it did not have the drugs necessary to implement

the 2008 Protocol and was considering revisions to the execution protocol.              After the

announcement by the BOP that it was unable to implement the 2008 Protocol, the ongoing

litigations were stayed. For the next eight years, the DOJ submitted quarterly status reports

indicating that protocol revisions were ongoing.



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   53.   On July 25, 2019, the DOJ issued a press release announcing the scheduling of five

executions: three within a single week in December 2019, and another two during a single week

in January 2020, all to be carried out at USP Terre Haute.

   54.   On the same day, the DOJ announced that, at the direction of Attorney General Barr,

the BOP had adopted the 2019 Addendum.             The 2019 Addendum replaced the previous

three-drug procedure with a procedure using a five-gram dose of pentobarbital.

   55.   On November 13, 2019, the BOP publicly filed the Administrative Record, including

a revised execution protocol (the 2019 Protocol) which replaced the 2008 Protocol. (The

Administrative Record was supplemented twice thereafter.) The 2019 Protocol included the

2019 Addendum and also removed key provisions that had been included in the 2008 Protocol,

including a detailed plan for responding to unexpected occurrences during executions.

   56.   The 2019 Protocol, including the 2019 Addendum, constitute DOJ/BOP “statement[s]

of general or particular applicability and future effect designed to implement, interpret, or

prescribe law or policy or describing the organization, procedure, or practice requirements of an

agency.” 5 U.S.C. § 551(4). They are therefore “rule[s],” as defined by the APA. Id.

   57.   The 2019 Protocol was adopted by the BOP and the DOJ without any advance notice

to the Plaintiffs or the public. Between the BOP’s May 2011 announcement that it was unable

to implement the 2008 Protocol and the July 25, 2019 announcement of the 2019 Addendum and

five execution dates, neither the DOJ nor the BOP provided any information to the public or to

Plaintiffs about the 2019 Protocol, the 2019 Addendum, or any of the other processes or details

of any revisions to the execution protocol that were planned or under discussion or consideration.

   58.   Neither the DOJ nor the BOP followed the applicable rule-making process under the

APA, which requires an agency to publish proposed rules in advance of adoption and allows the



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public an opportunity to comment on such policy changes before they are put into place. See,

e.g., 5 U.S.C. § 553.

  B.      The 2019 Protocol

               1. The 2019 Protocol Violates Applicable Law.

   59.    The FDPA expressly provides that a “United States marshal . . . shall supervise

implementation of the sentence in the manner prescribed by the law of the State in which the

sentence is imposed.” 18 U.S.C. § 3596(a).

   60.    The 2019 Protocol flouts that Congressional directive and violates the FDPA by

purporting to establish and implement for all federal executions a separate and uniform federal

execution protocol that, upon information and belief, does not follow and is materially different

from the manner prescribed by the law of the States in which Plaintiffs’ sentences were imposed.

See Appendix A attached hereto. Upon information and belief, Defendants will utilize the

procedures identified in the 2019 Protocol, instead of the procedures deemed binding by the law

of each State where Plaintiffs were sentenced. In the alternative, to the extent the Court finds

that the 2019 Protocol grants Defendants the discretion to change or depart from the procedures

laid out in the 2019 Protocol in order to implement executions in the manner prescribed by the

laws of the States, Defendants have failed to provide notice of which States’ procedures they will

follow and what changes they will make to comply with the binding law of those States.

   61.    The 2019 Protocol also violates the FDPA by purporting to delegate to the BOP the

responsibility to supervise implementation of death sentences, a responsibility expressly reserved

and assigned by Congress to the USMS. Moreover, despite the FDPA’s specific assignment of

responsibility to the USMS to supervise the implementation of federal death sentences, the

USMS had no meaningful role or participation in the creation or preparation of the 2019

Protocol. See Sheehan Dep. at 24:1-20, 30:20-31:7.

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   62.    The CSA makes it unlawful to “dispense” any “controlled substance” except pursuant

to a valid prescription “issued for a legitimate medical purpose” by a practitioner who is

registered pursuant to the statute and is “acting in the usual course of his professional practice.”

21 U.S.C. §§ 822, 829, 841(a)(1); 21 C.F.R. § 1306.04(a). In addition, regulations promulgated

by the DEA provide that every person who “dispenses” a “controlled substance” is required to

obtain a registration, and that the DEA Administrator “shall deny” an application for registration

unless the issuance of a registration is “required” under the CSA. 21 C.F.R. § 1301.35.

   63.    Defendants have confirmed that they do not intend to obtain a prescription for the

pentobarbital they intend to use to execute Plaintiffs. See Miller Dep. at 29:18-21.

   64.    The 2019 Protocol violates the CSA because it requires the dispensing and

administration of pentobarbital (a Schedule II controlled substance) without a valid prescription

for no legitimate medical purpose, by persons who are not acting in the course of professional

practice and/or who lack a valid registration, and by not requiring the persons who will dispense

the pentobarbital to apply for a registration.

   65.    The FDCA, which applies to drugs used in lethal injection executions, conditions the

dispensing of FDA-approved drugs such as pentobarbital upon either (a) “a written prescription

of a practitioner licensed by law to administer such drug,” or (b) “an oral prescription of such

practitioner which is reduced promptly to writing and filed by the pharmacist.” 21 U.S.C.

§ 353(b)(1)(B).

   66.    A prescription must be a “bona fide order” reflecting a genuine practitioner-patient

relationship. United States v. Nazir, 211 F. Supp. 2d 1372, 1375 (S.D. Fla. 2002). It directs

“the preparation and administration of a medicine, remedy, or drug for a real patient who

actually needs it after some sort of examination or consultation by a licensed doctor—and does



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not include pieces of paper by which physicians are directing the issuance of a medicine,

remedy, or drug to patients who do not need it, persons they have never met, or individuals who

do not exist.” Id.

   67.    The 2019 Protocol violates the FDCA because it requires the dispensing and

administration of pentobarbital and/or compounded pentobarbital without a valid medical

prescription.   Medical prescriptions are available for pentobarbital and/or compounded

pentobarbital as evidenced by the fact that two of the five states whose methods Defendants relied

on in crafting the 2019 Protocol utilize such prescriptions.

   68.    The FDCA also prohibits compounding of a drug that is “essentially a copy of one or

more approved drugs.” 21 U.S.C. § 353b(a)(5). Upon information and belief, the compounded

pentobarbital Defendants intend to use to execute Plaintiffs is “essentially a copy” of, is “identical

or nearly identical to,” and contains a “bulk drug substance” contained in, FDA-approved

pentobarbital, including Nembutal and generic products. 21 U.S.C. § 353b(d)(2)(A)-(B).

   69.    The 2019 Protocol violates the FDCA because FDA-approved pentobarbital, including

Nembutal and generic products, are marketed and commercially available drug products under

the FDCA.

   70.    Under the APA, any agency action that is “not in accordance with [the] law,” “in excess

of statutory jurisdiction, authority, or limitations,” “contrary to constitutional right, power,

privilege, or immunity,” or taken “without observance of procedure required by law” must be set

aside. 5 U.S.C. § 706(2)(A)-(D).

   71.    The 2019 Protocol violates the FDPA, the CSA, and the FDCA, is thus “not in

accordance with [the] law,” and under the APA must be set aside. In addition, the 2019 Protocol

violates the APA because the DOJ and the BOP failed to provide advance notice or opportunity



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for the public to comment upon the 2019 Protocol prior to its promulgation, and its adoption was

not the product of reasoned decision-making.

                2. Issues with Pentobarbital.

    72.   The 2019 Protocol provides that “[t]he lethal substances to be utilized in federal lethal

injections shall be Pentobarbital Sodium.” 2019 Addendum, ¶ C. The 2019 Protocol further

provides that executions will be administered using two syringes each containing “2.5 grams of

Pentobarbital Sodium in 50 mL of diluent,” and a third syringe containing “60 mL of saline

flush.” Id. ¶ H.

    73.   Pentobarbital is a barbiturate that affects the activity of the brain and nervous system.

It is clinically indicated for use as a pre-anesthetic, a sedative, and for treatment of brain-swelling,

seizures, and insomnia.

    74.   Barbiturates such as pentobarbital “do not guarantee lack of consciousness.” Decl. of

Gail Van Norman, M.D. (“Van Norman Decl.”), at 7 (Nov. 11, 2019), ECF No. 24. Pentobarbital

produces only unresponsiveness, not unconsciousness or lack of awareness, so prisoners given a

five-gram dose of pentobarbital will remain sensate and feel the effects of the execution. “[E]ven

when the patients appear to be unconscious by all clinical measures and are unresponsive, . . .

consciousness will permit extreme pain and suffering during the execution process.” Id.

    75.   Pentobarbital has a high alkaline pH of approximately 9.5, significantly higher than

normal blood pH. Defendants’ supplies of pentobarbital, to the extent they have been analyzed

and disclosed, show even higher pH readings, specifically, 9.91, 10.0, 10.03, 10.3, and 10.12.

Decl. of Mark A. Edgar, M.D. (“Edgar Decl.”), at 19 (Oct. 24, 2019), ECF No. 26-12.

    76.   As a result of pentobarbital’s high pH level, injection of a high dose of pentobarbital

(including five grams as required by the 2019 Protocol) will cause “flash” or non-cardiogenic

pulmonary edema “virtually instantaneous[ly].” Van Norman Decl. at 33. Flash pulmonary

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edema results from the “direct toxic/caustic damage to the lung capillaries as extremely high

concentrations of barbiturates (which are highly alkaline and caustic) make physical contact with

the lung and capillary surfaces, causing immediate leakage of fluid through the damaged

capillaries into the lungs.” Id. at 32; see also Edgar Decl. at 19-20. Flash or non-cardiogenic

pulmonary edema is distinguished from cardiogenic pulmonary edema, which occurs much more

gradually when fluid backs up in the lungs as a result of heart failure. See Edgar Decl. at 3.

   77.    Flash pulmonary edema will produce “foam or froth in the small/lower or large/upper

airways (bronchi and trachea) resulting from the mixture of air, edema fluid, and pulmonary

surfactant (a detergent-like secretion normally present in the airspaces).” Edgar Decl. at 4. As a

result, flash pulmonary edema causes “obstruction or partial obstruction of the upper airway due

to effects of barbiturates on respiratory centers in the brain, or due to laryngospasm (a spasmodic,

involuntary closure of the larynx) while respiratory efforts continue against the obstruction or

partial obstruction, ‘sucking’ fluids from the capillaries into the lung air spaces”—a mechanism

known as “negative pressure pulmonary edema.” Van Norman Decl. at 32. Pulmonary edema

may also result from “acute left heart failure due to direct toxic effects of barbiturates on the

heart, leading to ‘backing up’ of blood into the lungs.” Id.

   78.    The experience of acute pulmonary edema prior to the loss of consciousness “produces

sensations of drowning and asphyxia,” and therefore, “the experience of this condition in an

inmate who was still sensate would result in extreme pain, terror and panic,” Edgar Decl. at 21,

feelings made “more frightening by being positioned lying flat in restraints,” “which aggravates

the noxious sensations of pulmonary edema.”           Id. at 22.    Pulmonary edema causes an

“excruciating” experience comparable to death by drowning.

      Not being able to breathe during drowning or asphyxiation is one of the most
      powerful, excruciating feelings known to man. It is nearly impossible for most


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       untrained human beings to hold their breath voluntarily for more than 1 minute. In
       less than 60 seconds, sensations of asphyxia and compulsion to breathe appear and
       rapidly overwhelm the brain. Panic and terror, and the attempt to fight take over.
       Even human beings who are underwater will reach such a level of agony that they
       will be compelled to take a “breath” within about 1 minute. This is the sensation
       that is deliberately elicited in “the enhanced interrogation technique” called
       waterboarding, which is defined by the European Court of Human Rights as a form
       of torture.

Van Norman Decl. at 34 (emphasis omitted).

    79.    “Flash” or “acute” pulmonary edema occurs in the “vast majority, if not all” of

 pentobarbital executions. Van Norman Decl. at 31.

    80.    Flash pulmonary edema occurs “virtually immediately during and after high-dose

 barbiturate injection,” and well within the time frame for pentobarbital to carry out its peak

 effects on the brain. Van Norman Decl. at 36. It is therefore “extremely likely” that prisoners

 executed with pentobarbital will experience sensations of drowning and suffocation when they

 die. Id. It is likewise “extremely likely” that prisoners who are injected with five grams of

 pentobarbital under the 2019 Protocol will remain “capable of feeling pain, terror, and

 suffocation.” Id. at 7. And it is a “virtual medical certainty that most, if not all, prisoners will

 experience excruciating suffering, including sensations of drowning and suffocation, as a result

 of [the] effect of IV injection of 5 grams of pentobarbital.” Id.

    81.    A review of over two dozen autopsy reports confirms that it is a “virtual medical

 certainty” that most, if not all, prisoners executed with a single dose of pentobarbital, as is

 contemplated by the 2019 Protocol, experienced “immediate, flash pulmonary edema,” which is

 not a normal autopsy finding. Van Norman Decl. at 36. Prisoners’ autopsy reports also

 confirmed the presence of moderate to severe pulmonary edema, “many with fluid filling their

 major airways.” Id. at 35. The presence of froth, foam or fluid in the airways indicated the onset

 of flash, non-cardiogenic pulmonary edema (not cardiogenic pulmonary edema) caused by


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“immediate toxic damage to the pulmonary capillaries by the” pentobarbital, id. at 35-36, and

further indicated that the prisoners continued to breathe after the onset of the edema—as

demonstrated by the mixing of edema-fluid and air. Id. at 36; see also Edgar Decl. at 18, 20.

   82.   Witness reports of executions also confirm that prisoners who were executed with a

single dose of pentobarbital were sensate and continued to breathe after the onset of the edema,

and, before losing consciousness, experienced acute symptoms of pulmonary edema, including

burning sensations, labored breathing, gasping, and other signs of severe pain and respiratory

distress. See Edgar Decl. at 19-21.

   83.   Based on the foregoing, there is “an extremely high risk” that the 2019 Protocol will

“caus[e] prisoners severe pain, and is virtually certain to cause prisoners excruciating suffering

through their awareness of the sensations of suffocation and drowning caused by pulmonary

edema.” Van Norman Decl. at 6-8.

   84.   The 2019 Protocol lacks sufficient detail and important requirements and safeguards to

ensure that the pentobarbital Defendants obtain for use in executions will meet minimum

standards of purity and potency and function as intended. The problems attendant to the use of

pentobarbital in executions are made significantly worse if the drug is contaminated, impure,

sub-potent, or otherwise does not meet minimum standards of purity and potency, including

pentobarbital that has expired, is past its “beyond use date,” or has failed established quality

control measures.

   85.   Under those conditions, the pentobarbital “would not have the pharmacological effect

as expected, potentially leading to the prisoner’s prolonged suffering as a result.” Decl. of

Michaela Almgren, Pharm.D., M.S. (“Almgren Decl.”) at 8 (Oct. 31, 2019), ECF No. 26-15.

Accordingly, the lack of requirements and safeguards in the 2019 Protocol materially and



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foreseeably increase the likelihood that prisoners will suffer severe pain and serious harm during

executions.

          a.   The 2019 Protocol contains no provisions, requirements, criteria, or safeguards

regarding the methods for obtaining, storing, mixing, and appropriately labeling the

pentobarbital; the chain of custody for the pentobarbital; or the minimum qualifications and

expertise required for the person who will be determining the concentration, dosage, and rate of

infusion to give. As to those crucial points, it instead provides unfettered discretion without even

the criteria to guide the exercise of that discretion.

          b.   The 2019 Protocol does not require or allow for the consideration of the prisoner’s

unique physical health and medical conditions and history as part of the determination of the

appropriate dosage to be used. Rather, the 2019 Protocol fixes the same dosage to be used in

every execution. See 2019 Addendum, ¶ H.

          c.   The 2019 Protocol contains no provisions, requirements, criteria, or safeguards

regarding the form and provenance of the pentobarbital to be used (manufactured,

FDA-approved, compounded, imported, etc.).

          d.   The 2019 Protocol contains no provisions, requirements, criteria, or safeguards

regarding testing of the pentobarbital to be used in executions to ensure, at a minimum, its

identity, purity, and potency. Nor does the 2019 Protocol contain any requirements or safeguards

to ensure that pentobarbital that fails any quality assurance testing will not be used in any

execution.

          e.   The 2019 Protocol also lacks any requirement that the results of any testing the

BOP elects to undertake are communicated promptly and prior to the execution to condemned

prisoners facing execution and their counsel. These are not abstract concerns. The pentobarbital



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prepared for use in the executions scheduled for December 2019 failed quality assurance testing

on or around December 3, 2019, but Defendants informed neither Plaintiffs nor this (or any

other) Court of that failure, despite ongoing litigation over whether those executions would be

enjoined. Plaintiffs only learned of the failed test on January 29, 2020 during the OAG 30(b)(6)

deposition of Mr. Weinsheimer. Defendants have further revealed that none of their lethal

injection drugs had passed quality assurance testing at the time of the first scheduled execution,

but intended to proceed regardless, had its injunction been lifted. May 2020 Winter Dep. at 56:3-

60:2.

   86.    For the foregoing reasons, the 2019 Protocol “will subject executed prisoners to severe

pain and suffering, when they remain conscious and aware prior to their deaths.” Van Norman

Decl. at 6-7.

                3. Issues with Compounded Pentobarbital.

   87.    The BOP has advised Plaintiffs that it has obtained pentobarbital active pharmaceutical

ingredient (“API”) from a domestic manufacturer, has identified a compounding pharmacy to

store the API and compound an injectable form of the drug, and currently intends to use

compounded pentobarbital to administer Plaintiffs’ executions. See AR 872.

   88.    The 2019 Protocol lacks sufficient detail and important requirements and safeguards to

ensure that compounded pentobarbital used in executions meets minimum standards of purity

and potency. Use of contaminated, impure, or sub-potent compounded pentobarbital materially

and foreseeably increases the likelihood that prisoners will suffer severe pain and serious harm

during executions. See Almgren Decl. at 7-8.

   89.    Compounded drugs are not FDA-approved and are subject to less rigorous regulation

and oversight relating to the identity, purity, and potency of the drug. For these reasons, there is




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a substantial risk that compounded drugs will be contaminated, handled improperly or suffer

from quality issues, the most common and concerning of which is lack of potency.

   90.    The BOP has stated that the compounding facility that will produce pentobarbital for

federal executions is a registered outsourcing facility pursuant to section 503B of the FDCA, 21

U.S.C. § 353b (see Nov. 2019 Winter Dep. at 291:10, 307:2-4; Decl. of Raul Campos at 1-2

(Nov. 12, 2019), ECF No. 36-1)), but the DEA has advised that the facility is not a compounding

pharmacy, but rather a dosage manufacturer. See Miller Dep. at 78:6-17.

   91.    This confusion is made worse by the fact that the 2019 Protocol contains no provisions,

requirements, criteria, or safeguards to ensure verification that the API supplier and

compounding pharmacy are qualified, experienced, properly licensed, and have a satisfactory

regulatory track record.

   92.



                                      and the Office of the Attorney General advised that the

chosen compounding facility had no previous experience compounding pentobarbital,

Weinsheimer Dep. at 217:2-5, raising quality concerns given the technical complexity of

compounding the drug properly. See Almgren Decl. at 2-4. But Defendants have provided no

additional information about the process and criteria for vetting and selecting the supplier of the

API or the compounding pharmacy, including sufficient information to verify they are qualified,

experienced, properly licensed, adhere to appropriate standards and practices, and have a

satisfactory regulatory record.

   93.    Compounding of pentobarbital is a complex and highly specialized process that

requires specialized equipment, numerous pharmaceutical-grade ingredients, chemical



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adjustments during the process, and of course the appropriate experience and credentials in

aseptic compounding technique. See Almgren Decl. at 2-3.

      94.   Even minor deviations from the complex procedures for compounding pentobarbital

can result in a sub-potent drug. See Almgren Decl. at 4. The use of a sub-potent drug increases

the risk of severe pain and harm because it “would not have the pharmacological effect as

expected, potentially leading to the prisoner’s prolonged suffering as a result.” Id. at 7-8.

      95.   The 2019 Protocol lacks information explaining how the pentobarbital Defendants

intend to use for executions has been compounded or will be compounded. In particular, the

2019 Protocol lacks detail and contains no requirements to ensure that the pentobarbital is

properly compounded in accordance with applicable standards and best practices. It omits any

discussion of: the quality of the API; an appropriate formulation recipe; the procedures by which

the drug has been or will be compounded; the ingredients and their concentrations; the equipment

used and how that equipment is maintained and calibrated; or the contents of “compounding

logs” that include the criteria used to determine the beyond use date, a master work sheet

containing storage requirements, and documentation of performance of quality control

procedures. See Almgren Decl. at 4. Without that information, it is impossible to verify that the

pentobarbital to be used in executions has been properly compounded and is “safe to be used

without causing unnecessary suffering to the prisoner.” Id.; see also Van Norman Decl. at 8 &

41.

      96.   Proper compounding also involves standards for proper storage of drugs including

temperature, humidity, and sterile conditions. Storage conditions must be continually monitored

and documented. Improper storage, such as excessive temperature, excessive humidity, or

unsterile conditions, will cause drugs—the API powder or the compounded form—to be



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degraded, contaminated, or damaged. This increases the “risk that the drugs could lose potency

and thus the drugs would not have the pharmacological effect as expected, potentially leading to

the prisoner’s prolonged suffering as a result.” Almgren Decl. at 7-8. The 2019 Protocol lacks

detail and contains no requirements to ensure that these critical storage requirements are satisfied

and that sub-potent and/or expired drugs are not used in executions.

   97.    Compounded drugs, including pentobarbital, are subject to standards for shelf-life or

“use by” dates, and the allowable length of time between compounding and administration. See

Almgren Decl. at 5. If administered after the “beyond use date,” the drug may be unstable or

unsterile and thus lose potency. The 2019 Protocol lacks detail and contains no requirements to

ensure that drugs past their “beyond use date” are not used in executions.

   98.    If Defendants carry out executions using compounded pentobarbital, there is a

substantial and foreseeable risk that the drugs will be handled improperly, contaminated, and

sub-potent, and thus a substantial and foreseeable risk that Plaintiffs will suffer severe pain and

substantial harm during executions.

                4. Issues with Intravenous (“IV”) Administration of Pentobarbital.

   99.    The 2019 Protocol provides that “[l]ethal substances shall be administered

intravenously.” 2019 Addendum, ¶ H. Setting an intravenous line is a delicate, complicated,

and invasive procedure that requires appropriate and extensive skill, experience, and training.

Ensuring that intravenous access is properly established, functioning, maintained, and monitored

is essential to ensure that lethal injection will effectively bring about death in a humane and

constitutional manner.

   100. Proper establishment and maintenance of intravenous access throughout the execution

is necessary to ensure that drugs are properly and humanely administered to the prisoner.



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   101. Improper IV insertion may lead to infiltration (in which the drug is injected or bursts

into the surrounding tissue instead of the prisoner’s vein) or extravasation (leakage of the drug

into the surrounding tissue). See Van Norman Decl. at 36-37. Extravasation and infiltration

often cause “significant, excruciating pain for prisoners,” including “instant, excruciating pain

that patients liken to being set on fire.” Id. at 8 & 36. Injection of pentobarbital into an artery

instead of a vein may result in “instant arterial spasm, pain, excruciating local tissue destruction,

and also immediate ischemia (i.e., lack of oxygen, tissue damage and necrosis) in the area of the

body supplied by the artery.” Id. at 36. Infiltration, extravasation, and arterial injection “can

result in slow suffocation if only partial injection is achieved, and a lingering and extremely

painful death, and/or failure of the execution altogether.” Id. at 41.

   102. The 2019 Protocol lacks sufficient detail and important requirements and safeguards to

ensure that intravenous access is properly established and maintained throughout the execution.

           a. The 2019 Protocol contains no criteria or requirements regarding the manner in

which the IV catheters shall be inserted into the prisoner (for example, whether to establish

central line access or perform a cut-down); whether there is an order of preferred access sites;

whether there is a time limit for establishing IV access; whether there is a limit on the number

of times the team can attempt IV access; and how disagreements among execution team members

are to be resolved. See Nov. 2019 Winter Dep. at 225:13-227:12.

           b. The 2019 Protocol contains no requirements regarding the minimum training,

experience, or qualifications required for the person setting the IV. See Nov. 2019 Winter Dep.

at 162:20-163:4.

           c. The 2019 Protocol contains no requirements regarding the minimum training,

experience, or qualifications required for the person who is given the responsibility and



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discretion to decide when efforts at inserting the IV catheters should be abandoned in favor of

some other constitutionally acceptable procedure, and the manner in which the condition of the

prisoner will be monitored to confirm that the IV lines are not inflicting severe and unnecessary

pain.

           d. The 2019 Protocol contains no criteria or requirements regarding the manner in

which the prisoner will be monitored to ensure that he or she is anesthetized and insensate during

the entire execution process, or the qualifications and expertise required for the person who will

be responsible for such monitoring.

           e. The 2019 Protocol contains no criteria or requirements regarding the manner in

which the IV tubing, three-way valve, saline solution, or other apparatus shall be modified or

repaired in the event it malfunctions during the execution process, the minimum qualifications

and expertise required of the person who shall have the discretion to decide to attempt such

action, and the criteria that shall be used in exercising this discretion.

           f. The 2019 Protocol allows the training and experience of the execution team

member placing the IVs to change from one execution to the next, and contains no requirements

to ensure that the team member responsible for the critical task of determining the method of

venous access has sufficient and appropriate training, experience, and qualifications to undertake

the task or make that determination. See Nov. 2019 Winter Dep. at 162:20-163:4.

           g. The 2019 Protocol does not require that the prisoner’s unique physical, health, and

medical conditions, including the viability or sufficiency of his or her veins, be taken into

consideration as part of the determination of the appropriate method of venous access.

   103. The 2019 Protocol contains no requirement or provision ensuring Plaintiffs’ access to

counsel once the execution reaches the stage of setting the IVs, see Nov. 2019 Winter Dep. at



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148:9-150:16, effectively preventing condemned prisoners from communicating to counsel any

issues with the IV placement.

   104. The 2019 Protocol also delegates critical decisions to personnel who lack and/or are

not required to have appropriate background, experience, and training. The 2019 Protocol

delegates to the BOP Director authority to determine the method of venous access for an

execution with no requirement that he or she have adequate medical knowledge, experience,

background, and training to make that critical medical decision. Although the 2019 Protocol

allows the BOP Director to designate another person to determine the method of venous access,

such designee is likewise not required to have adequate medical knowledge, experience,

background, and training to make that critical decision.

   105. Finally, the 2019 Protocol indicates that the determination of the method of venous

access will be “(1) based on the training and experience of [the] personnel establishing the

intravenous access; (2) to comply with specific orders of federal courts; or (3) based upon a

recommendation from qualified personnel.” 2019 Addendum, ¶ H. However, the 2019 Protocol

does not require the personnel establishing the IV to have any minimum or particular “training

[or] experience,” and contains no limitation on who might be deemed to be “qualified personnel.”




                                                                            Given that the 2019

Protocol does not require that qualified medical personnel perform IV placement, there is no




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guarantee that                    or any other medical professionals will in fact be present to

perform this function at an execution.

   106. That inadequate intravenous access presents a serious and avoidable risk of severe pain

and suffering is confirmed by the fact that lethal-injection executions have frequently been

plagued by difficulties with setting IVs that have caused serious harm to prisoners. The

complaints in two other actions pending in this district, Roane v. Gonzales, No. 1:05-cv-02337-

TSC (D.D.C. filed Dec. 6, 2005) (Roane Compl.), and Bourgeois v. United States Dep’t of

Justice, No. 1:12-cv-00782-TSC (D.D.C. filed May 15, 2012) (Bourgeois Compl.), provide

details on the issues that have arisen. For example, kinked tubing and an improperly inserted IV

needle caused one prisoner “excruciating pain” and delayed his execution, Roane Compl. ¶ 45(c),

while another prisoner suffered a prolonged execution due to a clogged IV tube that could have

been prevented by “proper procedures taught in ‘IV 101,’” id. ¶ 45(f), and yet another prisoner

“grimace[ed],” “tried to mouth words,” and was not declared dead for 34 minutes as a result of a

needle that improperly injected chemicals into his soft tissue, rather than into his vein, Bourgeois

Compl. ¶ 59(k). Furthermore, difficulties in locating veins suitable for lethal injection have

resulted in significant delays and other torment for prisoners awaiting execution. See Roane

Compl. ¶ 46; Bourgeois Compl. ¶ 60.

   107. There have been several recent, significant examples of IV problems in lethal

injections. For example, at the well-publicized Clayton Lockett execution in 2014, the femoral

line was not placed correctly and Mr. Lockett regained consciousness before dying. In addition,

in Ohio (2017) and Alabama (2018), the execution teams tried unsuccessfully for an extended

period of time to set IVs in two very ill prisoners, Alva Campbell and Doyle Lee Hamm. Those

two executions were called off as a result.



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   108. The 2019 Protocol lacks detail and requirements to ensure intravenous access is

properly established, functioning, maintained, and monitored throughout the entire execution

process. Without those protections, the 2019 Protocol cannot be relied on to guarantee that

executions using lethal injection will effectively bring about death in a humane and constitutional

manner.

                   5. The 2019 Protocol Is Materially Incomplete.

   109. As explained in detail above, although the 2019 Protocol provides some vague and

high-level information, it lacks sufficient detail regarding the planned implementation of

executions, including numerous factors that are necessary to ensure compliance with

constitutional requirements.

   110. In addition to the deficiencies detailed above (¶¶ 84-85, 88, 91, 95-97, 102-105, 108),

the 2019 Protocol lacks sufficient detail and important requirements and safeguards regarding

numerous other factors that are necessary to ensure lethal injection will effectively bring about

death in a humane and constitutional manner, including, but not limited to, the following:

          a. The 2019 Protocol does not require the presence of a doctor or anyone with a

medical license to be present at or oversee the executions. See

                   see also Weinsheimer Dep. at 96:4-16, 100:6-101:7, 102:11-21.

          b. The 2019 Protocol contains no criteria or requirements regarding the minimum

qualifications and expertise required of the person who is given the responsibility and

discretion to order the staff to divert from the established protocols if necessary to avoid

inflicting severe and unnecessary pain and suffering, and the criteria to be used in exercising

this discretion.




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          c. The 2019 Protocol contains no criteria or requirements regarding the minimum

qualifications and expertise required of the person who is given the responsibility and

discretion to ensure that appropriate procedures are followed in response to unanticipated

problems or events arising during the execution, and the criteria that shall be used in exercising

this discretion.

          d. The 2019 Protocol expressly blocks access to information about the qualifications

of personnel, stating that “any documentation establishing [the] qualifications” of the personnel

involved in the executions “shall be protected from disclosure to the fullest extent permitted by

law.” 2019 Addendum, ¶ B.

   111. Moreover, the 2019 Protocol provides that “[t]hese procedures should be observed and

followed as written unless deviation or adjustment is required, as determined by the Director of

the BOP or the Warden.” AR 1019. The 2019 Addendum similarly provides as follows:

              The procedures utilized by the BOP to implement federal death
              sentences shall be as follows unless modified at the discretion of the
              Director or his/her designee, as necessary to (1) comply with
              specific judicial orders; (2) based on the recommendation of on-site
              medical personnel utilizing their clinical judgment; or (3) as may be
              required by other circumstances.

2019 Addendum, ¶ A.         However, the 2019 Addendum does not contain any detail or

requirements concerning the “other circumstances” which allow for deviation from the stated

execution procedures.

   112. The 2019 Protocol is materially incomplete and lacks sufficient detail, requirements,

and safeguards regarding the implementation of executions. Without those protections, the 2019

Protocol cannot be relied on to guarantee that executions using lethal injection will effectively

bring about death in a humane and constitutional manner.




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      C.     Alternatives Relating to Eighth Amendment Issues

       113. The United States Supreme Court has held that in order to establish an Eighth

    Amendment violation, “a prisoner must show a feasible and readily implemented alternative

    method of execution that would significantly reduce a substantial risk of severe pain and that the

    State has refused to adopt without a legitimate penological reason.” Bucklew v. Precythe, 139 S.

    Ct. 1112, 1125 (2019).

       114. Based on statutory authority and current and historical practices, upon information and

    belief, the following alternative methods of execution are feasible and readily implemented and

    available and would significantly reduce a substantial risk of severe pain which Defendants have

    refused to adopt without a legitimate penological reason. 1

              a. Execution by a single dose of FDA-approved pentobarbital, including

    implementing the remedial measures and safeguards detailed below and adding a pre-dose of a

    pain-relieving, anesthetic drug in a sufficiently large clinical dose. There are a wide variety of

    well-known, accessible, and easily administered pain-relieving medications used in anesthetic

    procedures. See Van Norman Decl. at 7, 18-19, 29-30; Decl. of Craig W. Stevens, Ph.D. at 2-7

    (Nov. 1, 2019), ECF No. 25. The opioid fentanyl is one option of a drug that would substantially

    reduce the risk that the prisoner would remain sensate to experience pain, including the pain and


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  Plaintiffs Battle, Paul, Purkey, and Webster are unable or incompetent to consult with counsel concerning alternative
methods of execution. Allegations concerning alternative methods of execution with respect to those Plaintiffs are
pled solely by counsel acting on their behalf. Mr. Battle has suffered for decades from schizophrenia and has more
recently been diagnosed with vascular dementia in his temporal and frontal lobes, a severe and degenerative
neurological disease that has stripped Mr. Battle of his memory and other mental functions. Mr. Purkey’s competency
to be executed is at issue in separate litigation pending before this Court, see Purkey v. Barr, No. 1:19-cv-03570
(D.D.C. filed Nov. 26, 2019). Plaintiffs Battle, Paul, Purkey, and Webster are therefore relieved of the obligation to
plead alternative methods of execution to state an Eighth Amendment claim, see In re Ohio Execution Protocol
Litigation, No. 2:11-cv-1016, 2018 WL 3207419, at *2 (S.D. Ohio June 29, 2018) (“A fortiori, a person incompetent
to be executed is also incompetent to stand trial and also to properly consult with his attorney about pleading an
alternative method of execution.”); see also Walton v. Johnson, 318 F. Supp. 2d 345, 349 (W.D. Va. 2004) (“Although
no court has yet articulated the standard of competency to select a method of execution, the court finds the standard
does not differ significantly from the standard for competency to be executed.”), aff’d, 440 F.3d 160 (4th Cir. 2006)
(en banc).


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suffering caused by pulmonary edema. The BOP has asserted that “numerous companies

manufacture” fentanyl and that brand-name and generic products are sold in the United States.

AR 862-63. The BOP also has confirmed that it has located a lawfully licensed compounding

pharmacy in the United States that is able and willing to “lawfully provide [BOP] with

commercially manufactured medications as they are available,” and to compound fentanyl as

needed. Id. at 864. The necessary remedial measures and safeguards are as follows:

            i.       the selection of qualified, competent and vetted team members, whose
                     qualifications are disclosed;

           ii.       establishment of two patent, functioning peripheral IV lines and assurance
                     (a) that no central line will be placed unless it is determined to be
                     necessary following a vein assessment by a qualified medical professional,
                     and (b) central lines will be set only by qualified and competent medical
                     professionals; and

          iii.       the administration of pentobarbital in close proximity to the prisoner,
                     rather than remotely. Eliminating the need for extension sets of IV tubing
                     can significantly reduce the risks of leakage or pinching of the tubing.
                     Proximate administration would also ensure adequate surveillance and
                     monitoring of the IV, the catheter site, and the prisoner. By eliminating
                     the need for lengthy IV tubing, proximate administration would greatly
                     reduce the variation and risk introduced by the increased contact, and
                     subsequent resistance, between the drug and the walls of the tubing. Any
                     concern about revealing the identity of personnel participating in the
                     execution process could be satisfactorily addressed by using a privacy
                     screen.

          b. Execution by a single dose of compounded pentobarbital that complies with all state

and federal compounding requirements, and has been tested for purity and potency, with records

of testing, chain of custody, and compounding formula disclosed to prisoners and their counsel,

including a pre-dose of a pain-relieving, anesthetic drug in a sufficiently large clinical dose, and

implementing the remedial measures and safeguards set forth in paragraph 114(a)(i)-(iii) above.

          c. Execution by firing squad. Execution by firing squad is a method of execution

currently authorized by the laws of three states (Utah, Oklahoma, Mississippi) which Defendants


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have the means and ability to administer. Execution by firing squad eliminates entirely the risk

of pain and suffering inherent in executions using pentobarbital and the procedures set forth in

the 2019 Protocol, including risks associated with establishing IV access and addressing

prisoner’s unique physical, health, and medical conditions. Execution by firing squad causes a

faster and less painful death than execution by lethal injection. See Arthur v. Dunn, 137 S. Ct.

725, 733-34 (2017) (Sotomayor, J., dissenting) (citing reports and stating that a firing squad may

cause nearly instantaneous death, be comparatively painless, and have a lower chance of a

botched execution); see also Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J., concurring) (addressing

the availability of firing squad as an alternative). Execution by firing squad also “is significantly

more reliable” than lethal injection. Glossip v. Gross, 135 S. Ct. 2726, 2796 (2015) (Sotomayor,

J., dissenting). Recent studies have confirmed that execution by firing squad statistically is much

less likely to result in “botched” executions than lethal injection. See AUSTIN SARAT, GRUESOME

SPECTACLES: BOTCHED EXECUTIONS          AND   AMERICA’S DEATH PENALTY 120, App. A (2014)

(analysis of contemporaneous news reports of all executions in the United States from 1900 to

2010 found that 7.12% of the 1,054 executions by lethal injection were “botched” and none, 0%,

of the 34 executions by firing squad were “botched”).

                       V.      Exhaustion of Administrative Remedies

    115. Each of the Plaintiffs has either exhausted all available administrative remedies,

believes exhaustion is not necessary under the Prison Litigation Reform Act, 42 U.S.C. § 1997e

(because this suit does not challenge prison conditions, and because there are no available

administrative remedies that could address the challenged constitutional violations), or the

Defendants have agreed not to assert failure to exhaust administrative remedies as a defense in

this action.




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                                   VI.     Claims for Relief

                                       Count I
                  (Fifth Amendment Violation — Denial of Due Process)

   116. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   117. The Due Process Clause of the Fifth Amendment of the U.S. Constitution requires

notice and an opportunity to be heard before the deprivation of life, liberty, or property.

   118. Being “deprived of life” unequivocally implicates a constitutionally protected interest,

U.S. Const. amend. V, and the U.S. Supreme Court has held that constitutionally protected

“liberty interests are implicated” when the government plans to “inflict[] appreciable physical

pain,” Ingraham v. Wright, 430 U.S. 651, 674 (1977).

   119. Defendants, acting under color of federal law, have not disclosed sufficient information

or details regarding the development and drafting of the 2019 Protocol or the procedures that will

be utilized in carrying out Plaintiffs’ executions pursuant to the 2019 Protocol, thereby

preventing Plaintiffs from determining all aspects of the 2019 Protocol that violate provisions of

federal law or constitute cruel and unusual punishment, and from consulting medical experts

concerning those aspects, and preventing Plaintiffs from determining and seeking to remedy the

ways in which the 2019 Protocol presents an avoidable risk of pain and suffering during their

executions.

   120. In addition, the discretion given to the BOP Director under the 2019 Protocol to change

the implementation of death sentences means that Plaintiffs will not have sufficient notice and

opportunity to challenge the manner of their executions.

   121. Executing Plaintiffs pursuant to the 2019 Protocol would violate the Due Process

Clause of the Fifth Amendment of the U.S. Constitution because it would deprive Plaintiffs of


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their lives and liberty without providing sufficient notice and opportunity to be heard on the

execution procedures to be used.

                                       Count II
                    (Eighth Amendment Violation — Cruel and Unusual
                                    Punishment)

    122. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

    123. The Eighth Amendment of the U.S. Constitution forbids the Government, in carrying

out a death sentence, from inflicting pain beyond that necessary to end the condemned prisoner’s

life. See In re Kemmler, 136 U.S. 436, 447 (1890). “Punishments are cruel when they involve

torture or a lingering death . . . something more than the mere extinguishment of life.” Id.; see

also Baze v. Rees, 553 U.S. 35, 50 (2008) (execution violates the Eighth Amendment if it presents

a “substantial risk of serious harm”).

    124. Defendants, acting under color of federal law, intend to execute Plaintiffs in a manner

that is arbitrary, cruel, and/or unreliable, and which will inflict excruciating pain on Plaintiffs, or

has a foreseeable and significant but completely avoidable and unnecessary risk of causing such

pain.

    125. There are alternative methods of execution, as described above, that are “feasible,

readily implemented, and in fact [would] significantly reduce the substantial risk of severe pain.”

Baze, 553 U.S. at 52.

    126. Because the 2019 Protocol poses a substantial risk of serious harm to Plaintiffs, it

violates Plaintiffs’ constitutional right guaranteed by the Eighth Amendment of the U.S.

Constitution to be free from arbitrary, capricious, cruel, and unusual punishment.




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                                        Count III
                   (Eighth and Fifth Amendment Violation — Deliberate
                                      Indifference)

   127. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   128. The Eighth Amendment forbids “deliberate indifference” to “serious medical needs of

prisoners,” Estelle v. Gamble, 429 U.S. 97, 104 (1976), and to a substantial risk of serious harm

to a prisoner. See Farmer v. Brennan, 511 U.S. 825, 834 (1994).

   129. Substantive Due Process affords similar protections: “[A] physician who acts on behalf

of the State to provide needed medical attention to a person involuntarily in state custody (in

prison or elsewhere) and prevented from otherwise obtaining it, and who causes physical harm

to such a person by deliberate indifference, violates the [Constitution’s] protection against the

deprivation of liberty without due process.” West v. Atkins, 487 U.S. 42, 58 (1988) (Scalia, J.,

concurring).

   130. The BOP undertakes to provide inmates with five major levels of medical care,

including emergency care and “medically necessary” care, which is defined as treatment “without

[which] care an inmate could not be maintained without significant risk of . . . [s]erious

deterioration leading to premature death[;] [s]ignificant reduction in the possibility of repair later

without present treatment[;] or [s]ignificant pain or discomfort which impairs the inmate’s

participation in activities of daily living.” U.S. Dep’t of Justice, Fed. Bureau of Prisons, Program

Statement No. 6031.04, § 7 (June 3, 2014).

   131. The choice of a course of medical treatment may violate the Eighth Amendment where

it is “so blatantly inappropriate as to evidence intentional mistreatment likely to seriously




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aggravate the prisoner’s condition.” Thomas v. Pate, 493 F.2d 151, 158 (7th Cir. 1974), vacated

and remanded on other grounds sub nom. Cannon v. Thomas, 419 U.S. 813 (1974).

   132. The Attorney General and the BOP Defendants are required to provide Plaintiffs with

appropriate medical care until the moment of their deaths. Thus, the Eighth Amendment’s

proscription against “deliberate indifference” requires that they administer the death penalty

without the “unnecessary and wanton infliction of pain.” Gregg v. Georgia, 428 U.S. 153, 173

(1976).

   133. The means chosen by the Attorney General and the BOP Defendants to execute

Plaintiffs under the 2019 Protocol constitute deliberate indifference to a substantial risk of serious

harm to Plaintiffs. Plaintiffs have alleged several feasible and readily implemented alternatives

to the 2019 Protocol that would substantially reduce the substantial harm to Plaintiffs.

   134. The 2019 Protocol violates rights secured and guaranteed to Plaintiffs by the Fifth and

Eighth Amendments of the U.S. Constitution.

                                          Count IV
                 (First, Fifth and Sixth Amendment Violations — Access to
                                          Counsel)

   135. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   136. Prisoners have a right under the First and Fifth Amendments of the U.S. Constitution

to access to the courts. See, e.g., Lewis v. Casey, 518 U.S. 343, 350-51 (1996); Wolff v.

McDonnell, 418 U.S. 539, 579 (1974).

   137. Prisoners also have a right under the Sixth Amendment of the U.S. Constitution to

access to counsel at all “critical” stages of criminal proceedings. United States v. Wade, 388 U.S.

218, 227-28 (1967).



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   138. Prisoners have the right to access to counsel throughout the execution procedure,

including during an execution. See Harbison v. Bell, 556 U.S. 180, 194 (2009); In re Ohio

Execution Protocol Litig., No. 2:11-cv-1016, 2018 WL 6529145, at *4-5 (S.D. Ohio Dec. 12,

2018).

   139. To assert an Eighth Amendment violation prior to or during an execution, Plaintiffs

must be able to communicate that violation to their counsel, and counsel must be able to access

the courts on the Plaintiffs’ behalf. Abridgement of either prisoner-counsel communication or

counsel’s access to the courts violates Plaintiffs’ constitutional right to access to counsel and the

courts.

   140. The 2019 Protocol does not provide Plaintiffs with access to counsel during an

execution. Therefore, under the 2019 Protocol, Plaintiffs will not be able to communicate with

their counsel prior to and during the execution and will not be able to communicate with counsel

regarding any problems, including constitutional violations.

   141. In addition, the 2019 Protocol does not permit witnesses (including Plaintiffs’ attorneys

or medical consultants) to view the setting of IVs, so there is no way to identify, object to,

challenge, or correct any issues with the IV-setting process, including constitutional violations.

   142. The 2019 Protocol’s deprivation of access to counsel and the courts prior to and during

the execution violates Plaintiffs’ rights under the First, Fifth, and Sixth Amendments.

                                       Count V
             (Violation of APA — Ultra Vires Agency Action Contrary to the
                              FDPA and U.S. Constitution)

   143. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.




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   144. The APA requires a reviewing court to set aside any agency action that is “not in

accordance with [the] law,” “in excess of statutory jurisdiction, authority, or limitations,” or

“contrary to constitutional right, power, privilege or immunity.” 5 U.S.C. § 706(2)(A)-(C).

   145. The Take Care Clause of the U.S. Constitution imposes a duty on the Executive Branch

to “take Care that the Laws be faithfully executed.” U.S. Const., art. II, § 3. The Take Care

Clause forbids the Executive Branch from making acts of Congress unlawful by refusing to

enforce them as written. The Take Care Clause preserves the principles of separation of powers

inherent in the U.S. Constitution by preventing the Executive Branch from arrogating to itself

the legislative power to revoke or rewrite laws.

   146. The 2019 Protocol violates Section 3596 of the FDPA. The 2019 Protocol does not

require executions to be “implement[ed] . . . in the manner prescribed by the law of the State in

which the sentence is imposed,” 18 U.S.C. § 3596(a), but, rather, purports to implement a

protocol that differs in material respects from the applicable states. See Appendix A attached

hereto. Upon information and belief, Defendants will utilize the 2019 Protocol in any execution

instead of the manner deemed binding by the law of each State where Plaintiffs were sentenced.

In the alternative and assuming that there is a finding that Defendants have the discretion to

deviate from the 2019 Protocol in order to implement executions in the manner prescribed by the

laws of the States, Defendants have failed to provide notice of which States’ procedures they will

follow and what changes they will make to comply with the binding law of those States.

   147. The 2019 Protocol does not require “a United States marshal [to] supervise

implementation of the sentence” as required by 18 U.S.C. § 3596(a). See Sheehan Dep. at 41:6-

42:2. Rather, the 2019 Protocol purports to delegate that responsibility to the Director of the

BOP. The USMS had no meaningful role in the preparation of the 2019 Protocol and its role in



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federal executions is limited to identifying impediments, such as pardons or stays, and then

“giv[ing] the approval to the Bureau of Prisons to carry out the execution.” Id.

   148. The 2019 Protocol illegally contravenes Congressional intent insofar as it purports to

prescribe the manner for execution of prisoners, including Plaintiffs, who are sentenced to death

under the FDPA. The 2019 Protocol therefore constitutes ultra vires agency action because the

DOJ and the BOP lacked the authority under the FDPA to issue the 2019 Protocol, and also

violates the Take Care Clause of the Constitution and the principles of separation of powers.

   149. Accordingly, the 2019 Protocol should be held unlawful and set aside pursuant to the

APA, 5 U.S.C. § 706(2).

                                      Count VI
               (Violation of the APA — Violation of Notice-and-Comment
                                     Rulemaking)

   150. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   151. The APA requires a reviewing court to set aside any agency action taken “without

observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

   152. The APA required the DOJ and the BOP to provide adequate advance notice of the

proposed 2019 Protocol, a full and fair opportunity for public comment, and an explanation of

the rule ultimately adopted. See 5 U.S.C. § 553(b), (c).

   153. The DOJ and the BOP failed to provide advance notice or opportunity for the public to

comment on the 2019 Protocol prior to its promulgation, as well as an adequate explanation for

the protocol’s issuance. In issuing the 2019 Protocol in contravention of such procedural

requirements, the DOJ and the BOP violated the APA.




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   154. The DOJ’s and the BOP’s violation of the APA caused harm to Plaintiffs by depriving

them and the public of the right and opportunity to consider and address issues and concerns with

the 2019 Protocol, including, but not limited to, Defendants’ failure to provide adequate notice

of the procedures to which Plaintiffs would be subjected; the protocol’s failure to protect

Plaintiffs’ right of access to counsel and the courts; and the risk of an unavoidably painful

execution—including the risk of cruel and unusual punishment under the Eighth Amendment—

on account of the properties of pentobarbital, the undefined and unrestricted procedures to be

used in executions, and/or the absence of sufficient safeguards.

   155. Accordingly, the 2019 Protocol should be held unlawful and set aside pursuant to 5

U.S.C. § 706(2).

                                          Count VII
                       (Unconstitutional Delegation of Legislative Power)

   156. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   157. Article I, Section 1 of the United States Constitution vests “[a]ll legislative Powers” in

Congress and bars the delegation of legislative power.

   158. If it is determined that Section 3596, which directs that the U.S. Marshal “shall

supervise implementation of the sentence in the manner prescribed by the law of the State in

which the sentence is imposed,” authorizes the Attorney General to implement the sentence under

a federal protocol, then the statute has failed to provide “an intelligible principle to which the

person or body authorized . . . is directed to conform,” and thus constitutes “a forbidden

delegation of legislative power.” J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409

(1928); see also 18 U.S.C. § 3596(a).




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                                       Count VIII
                (Violation of the APA — Arbitrary and Capricious Agency
                                        Action)

   159. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   160. The APA requires a reviewing court to set aside any agency action that is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.”           5 U.S.C.

§ 706(2)(A).

   161. Agency action that is not the product of reasoned decision-making is arbitrary and

capricious. See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983). To satisfy the requirement of reasoned decision-making, an agency must

“cogently explain why it has exercised its discretion in a given manner.” Id. at 48.

   162. An agency’s rule is also arbitrary and capricious when, among other circumstances, the

agency has “entirely failed to consider an important aspect of the problem.” State Farm, 463

U.S. at 43.

   163. Neither the DOJ nor the BOP provided any explanation for the basis or reasons for the

decision to adopt the 2019 Protocol or the procedures contained therein. In particular, neither

the DOJ nor the BOP has adequately considered or provided any explanation or justification for

their planned use of pentobarbital as an execution drug, their failure to comply with applicable

laws, including the CSA and FDCA, or the absence of necessary safeguards to protect against

the significant risk of pain and suffering that the use of pentobarbital will cause to Plaintiffs,

including the risk of acute pulmonary edema and the harm caused by the use of sub-potent or

improperly compounded drugs.




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   164. The adoption of the 2019 Protocol was not the product of reasoned decision-making

and entirely failed to consider important aspects of the problem, and is thus arbitrary and

capricious, in violation of the APA.

   165. The DOJ’s and the BOP’s violation of the APA caused harm to Plaintiffs by depriving

them of the right and opportunity to consider and address issues and concerns with the 2019

Protocol, including, but not limited to, Defendants’ failure to provide adequate notice of the

procedures to which Plaintiffs would be subjected; the protocol’s failure to protect Plaintiffs’

right of access to counsel and the courts; and the risk of an unavoidably painful execution,

including the risk of cruel and unusual punishment under the Eighth Amendment on account of

the properties of pentobarbital, the undefined and unrestricted procedures to be used in

executions, and/or the absence of sufficient safeguards.

   166. Accordingly, the 2019 Protocol should be held unlawful and set aside pursuant to 5

U.S.C. § 706(2).

                                      Count IX
              (Violation of the APA — Arbitrary and Capricious Failure to
                    Exercise Enforcement Authority under the CSA)

   167. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of the Amended Complaint as if set forth in full below.

   168. The CSA makes it unlawful to “dispense” any “controlled substance,” 21 U.S.C.

§ 841(a)(1), except pursuant to a valid prescription “issued for a legitimate medical purpose” by

a practitioner who is “acting in the usual course of professional practice” and registered pursuant

to the statute. 21 U.S.C. §§ 802(21), 829(e)(2).

   169. Regulations promulgated by the DEA provide that every person who “dispenses” a

“controlled substance” is required to obtain a registration. 21 C.F.R. § 1301.11. The regulations



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also provide that the DEA Administrator “shall deny” an application for registration unless the

issuance of a registration is “required” under the CSA. 21 C.F.R. § 1301.35.

    170. Pentobarbital is a Schedule II controlled substance. 21 C.F.R. § 1308.12(e)(3).

    171. The 2019 Protocol violates the CSA because it requires the dispensing and

administration of pentobarbital without a valid prescription, for use that is not a legitimate

medical purpose, and by persons who are not acting in the course of professional practice and/or

lack a valid registration.

    172. Defendant Shea has arbitrarily and capriciously failed to exercise his authority to

enforce the CSA by not requiring the persons who will dispense the pentobarbital to apply for a

registration, and will continue to act arbitrarily and capriciously by permitting them to dispense

the pentobarbital without obtaining such registration or without obtaining a valid medical

prescription.

    173. Such arbitrary and capricious action violates the APA.

    174. This violation of the APA causes harm to Plaintiffs because, as alleged above, an

execution under the 2019 Protocol—with the use of pentobarbital in violation of the CSA—has

the substantial probability of resulting in cruel and unusual punishment due to the properties of

pentobarbital.

    175. Accordingly, the 2019 Protocol should be held unlawful and set aside pursuant to 5

U.S.C. § 706(2)(A).

                                           Count X
                                  (Violation of the APA —
                        Arbitrary and Capricious Failure to Exercise
                         Enforcement Authority Under the FDCA)

    176. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of this Amended Complaint as if set forth in full below.


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    177. The FDCA’s “core” legislative purpose is to ensure that a drug is “‘safe’ and ‘effective’

for its intended use.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000).

    178. The FDCA conditions dispensing of FDA-approved drugs such as pentobarbital upon

either (a) “a written prescription of a practitioner licensed by law to administer such drug,” or (b)

“an oral prescription of such practitioner which is reduced promptly to writing and filed by the

pharmacist.” 21 U.S.C. § 353(b)(1).

    179. Under the FDCA, the proposed dispensing and administration of compounded

pentobarbital requires a valid medical prescription reflecting a medical practitioner’s order that

“a compounded product is necessary for the identified patient.” 21 U.S.C. § 353a(a).

    180. Upon information and belief, Defendants have not obtained medical prescriptions to

use either FDA-approved or compounded pentobarbital in connection with executions of

Plaintiffs.

    181. The 2019 Protocol violates the FDCA by allowing the dispensing, administration, and

use of pentobarbital and/or compounded pentobarbital without a valid medical prescription. See

21 U.S.C. §§ 353(b)(1), 353a(a), 353a(b)(1)(D), 353a(b)(2), 353b(a)(5), and 353b(d)(2).

    182. Defendant Hahn has acted in an arbitrary and capricious manner by failing to exercise

his authority to enforce the FDCA by not requiring the persons who will dispense the

pentobarbital to have a valid registration. Defendant Hahn will continue to act arbitrarily and

capriciously by permitting these persons to dispense the pentobarbital without a proper

registration and without obtaining a valid medical prescription.

    183. Such arbitrary and capricious action violates the APA.

    184. This violation of the APA causes harm to Plaintiffs because, as alleged above, an

execution under the 2019 Protocol—with the use of pentobarbital in violation of the FDCA—



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has the substantial probability of resulting in cruel and unusual punishment due to the properties

of pentobarbital.

   185. Accordingly, the 2019 Protocol should be held unlawful and set aside pursuant to 5

U.S.C. § 706(2)(A).

                                          Count XI
                                  Violation of the APA –
                           Agency Action that is Contrary to Law
                           Because it Violates the FDCA and CSA

   186. Plaintiffs reallege and incorporate herein by reference all of the preceding paragraphs

of this Amended Complaint as if set forth in full below.

   187. Under the APA, a reviewing court must set aside any agency action that is “not in

accordance with [the] law,” or is “in excess of statutory jurisdiction, authority, or limitations.” 5

U.S.C. § 706(2)(A) and (C).

   188. As explained above, the 2019 Protocol violates both the CSA and the FDCA.

   189. The APA provides a private right of action when, as here, an agency’s action is “not in

accordance with [the] law,” 5 U.S.C. § 706(2)(A), and regardless of whether those two

underlying statutes provide a right of action by themselves. See Chrysler Corp. v. Brown, 441

U.S. 281, 317-18 (1979).

   190. Defendants’ violations of the federal drug laws will cause injury to Plaintiffs by

circumventing the statutory purposes of the CSA and FDCA to ensure that all drugs, including

those used to carry out an execution, are safe and effective and dispensed and administered

properly.   See FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000).

“[I]gnoring those safeguards, as Plaintiffs allege Defendants intend to do, places Plaintiffs at

risk.” Ringo v. Lombardi, 706 F. Supp. 2d 952, 958 (W.D. Mo. 2010); see also id. at 962; Beaty

v. FDA, 853 F. Supp. 2d 30, 42-43 (D.D.C. 2012) (explaining that importation of a misbranded


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execution drug implicates the FDCA’s statutory purposes, including the need to ensure that a

drug is safe and effective: “Even when in the correct hands, prisoners on death row have an

unnecessary risk that they will not be anesthetized properly prior to execution.”), aff’d in part,

vacated in part sub nom. Cook v. FDA, 733 F.3d 1 (D.C. Cir. 2013).

   191. Accordingly, the 2019 Protocol should be held unlawful and set aside pursuant to 5

U.S.C. § 706(2).

                                    VII.    Prayer for Relief

       WHEREFORE, in order to prevent the violations of Plaintiffs’ rights under the First,

Fifth, Sixth, and Eighth Amendments of the U.S. Constitution, and the violations of the APA,

the FDPA, the FDCA, and CSA alleged above, Plaintiffs respectfully request that the Court enter

a judgment:

      a.      declaring that the Defendants’ actions, practices, customs, and policies with

              regard to their means, methods, procedures, and customs regarding executions,

              and specifically the 2019 Protocol, are illegal and violate the First, Fifth, Sixth and

              Eighth Amendments of the U.S. Constitution, the APA, the FDPA, the FDCA,

              and the CSA;

      b.      vacating the 2019 Protocol and enjoining Defendants and all persons acting on

              their behalf from using the 2019 Protocol, or any revised protocol that violates

              Plaintiffs’ rights and the law, for the same reasons challenged above;

      c.      granting Plaintiffs their reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988

              and the laws of the United States; and

      d.      granting such further relief as the Court deems just and proper.




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 Dated: June 1, 2020                   Respectfully submitted,

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                Appendix A
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Appendix A: Representative Differences Between State and Federal Execution Procedures 1

        State                          State Requirement                             Federal Requirement
    Arkansas        The Arkansas Department of Corrections is               The BOP’s 2019 Protocol mandates
                    statutorily mandated to promulgate a lethal injection   that executions be carried out using
                    drug protocol from one of two options: “[a]             Pentobarbital Sodium. 2019
                    barbiturate,” or “[m]idazolam, followed by              Addendum, ¶ C; AR at 1069.
                    vecuronium bromide, followed by potassium
                    chloride.” Ark. Code § 5-4-617(c). Pursuant to its
                    delegated authority, the Arkansas Department of
                    Corrections adopted a protocol using the three-drug
                    formula allowed by statute. Arkansas Protocol §
                    III.5; see Ark. Code § 5-4-617(c).
                    The drugs “used to carry out the lethal injection       The 2019 Protocol is silent about
                    shall be . . . [a]pproved by the United States Food     requirements for the provenance and
                    and Drug Administration and made by a                   form of execution drugs to be used and
                    manufacturer approved by the United States Food         requires no assurances regarding the
                    and Drug Administration,” “[o]btained from a            entities that provide the drug.
                    facility registered with the United States Food and
                    Drug Administration,” or “[o]btained from a
                    compounding pharmacy that has been accredited by
                    a national organization that accredits compounding
                    pharmacies.” Ark. Code § 5-4-617(d).
                    “Catheters, sterile intravenous solution, and other     The 2019 Protocol is silent about the
                    equipment” used in executions “be sterilized and        equipment to be used in executions.
                    prepared in a manner that is safe and commonly
                    performed in connection with the intravenous
                    administration of drugs of that type.” Ark Code § 5-
                    4-617(f).
                    “Each member of the IV team shall have at least         The 2019 Protocol requires that
                    two . . . years of professional experience and          “medically trained personnel” have
                    certification or licensure” as an EMT-intermediate,     only “one year professional
                    EMT-paramedic, nurse, physician assistant, or           experience.” 2019 Addendum, ¶ D;
                    physician. Arkansas Protocol § V.                       AR at 1069.
                    The Arkansas protocol directs that a peripheral IV      The 2019 Protocol is silent about
                    line “shall” be placed “in each arm.” Arkansas          preferred IV access sites, thus allowing
                    Protocol § II.1. If the IV Team is not able to          placement of a central line – or even a
                    establish patent IV infusion sites, then it may         cutdown procedure – before
                    evaluate other possible infusion sites. If the IV       exploration of peripheral access sites.
                    Team is unable to establish IV access, “trained,
                    educated, and experienced person(s)” will be
                    brought in to establish a peripheral or central line
                    IV. Id. at II.8. The Arkansas protocol allows use of
                    lidocaine during IV placement. Id. at II.




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 This Appendix contains a representative sample of differences between the federal lethal-injection Protocol (the
2019 Protocol) and the laws, regulations, and execution protocols “prescribed by the law of the State in which
[Plaintiffs’] sentence[s are] imposed.” 18 U.S.C. § 3596. Plaintiffs reserve the right to argue that the federal
government must adhere to additional requirements “prescribed by” other portions of “the law of the State.” See id.
Upon information and belief, all of the protocols cited in this Appendix are publicly available, with the exception of
South Carolina’s. See, i.e. https://deathpenaltyinfo.org/executions/lethal-injection/state-by-state-lethal-injection-
protocols (last visited 6/1/20).



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Georgia         “There shall be present at the execution of a             The BOP’s 2019 Protocol does not
                convicted person the superintendent of the state          require the presence of physicians.
                correctional institution or a deputy superintendent       2019 Addendum, ¶ D; AR at 1069.
                thereof, at least three executioners, [and] two
                physicians to determine when death
                supervenes . . . .” Ga. Code § 17-10-41.
                The IV Team, which obtains IV access, must                The 2019 Protocol does not require the
                contain at least one nurse. GDOC Protocol § I.A;          presence of nurses. 2019 Addendum,
                AR at 9. The nurse also attaches a heart monitor to       ¶ D; AR at 1069.
                the prisoner. GDOC Protocol § II.D.4; AR at 12.
                “Within one hour of execution, … The condemned            The 2019 Protocol does not provide for
                will be offered a mild sedative by a Physician.”          pre-treatment.
                GDOC Protocol § II.C.4; AR at 11.
                The Georgia protocol expresses a clear preference         The 2019 Protocol tasks the Director
                for peripheral venous access. Central line access is a    with determining venous access and
                last resort, and central venous access must be            does not require that a physician
                obtained by a physician. GDOC Protocol § II.D.3;          establish central vein access. 2019
                AR at 12.                                                 Addendum, ¶ G; AR at 1070.
                The Georgia protocol requires that a nurse “monitor       The 2019 Protocol does not require the
                the progress of the injection” throughout the             presence of nurses or physicians, nor
                execution “to ensure proper delivery of chemicals         does it require a medical professional
                and to monitor for any signs of consciousness.” If        to monitor the drug administration.
                the nurse observes a problem with the flow of the
                drugs through the IV, “the Nurse will inform the
                attending Physician,” who advises the Warden
                whether it is necessary to change to the second IV.
                GDOC Protocol § II.E.3; AR at 13.
                The Georgia protocol provides a contingency plan          The 2019 Protocol does not contain a
                in the event that the prisoner is not deceased            contingency plan in the event the
                following administration of 5 grams of                    prisoner is alive after administration of
                pentobarbital. GDOC Protocol § II.E.4; AR at 13.          5 grams of pentobarbital.
Indiana         “The death penalty shall be inflicted before the hour     The BOP’s 2019 Protocol does not
                of sunrise on a date fixed by the sentencing court.”      specify a pre-dawn execution time.
                Ind. Code § 35-38-6-1.
                The Indiana Department of Corrections administers         The 2019 Protocol mandates that
                a three-drug protocol: Brevital (methohexital             executions be carried out using
                sodium), Pancuronium or Vecuronium Bromide,               Pentobarbital Sodium. 2019
                and Potassium Chloride. IDOC Protocol Injection           Addendum, ¶ C; AR at 1069.
                Process, p. 15; see also Death Penalty in Indiana,
                https://www.in.gov/idoc/3349.htm (specifying
                IDOC’s current use of Brevital) (last visited
                5/30/20).
                A physician “shall . . . be present at the State Prison   The 2019 Protocol does not require the
                at the time of the execution; an alternate physician      presence of physicians. 2019
                will also be notified and available in the event the      Addendum, ¶ D; AR at 1069.
                primary physician is unable to be at the facility.”
                IDOC Protocol, p. 5.
                “After four . . . attempts for intravenous access,” the   The 2019 Protocol tasks the Director
                IV team shall leave the room, and the physician           with determining venous access and
                shall perform a venous cut down. IDOC Protocol            does not require that a physician
                Appendix A.                                               establish central vein access.
                                                                          Addendum, ¶ G; AR at 1070.




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                 The Indiana protocol requires that procurement of         The 2019 Protocol does not require that
                 execution drugs be “in accordance with the Indiana        procurement of execution drugs
                 Board of Pharmacy Controlled Substance                    comply with state or federal law, does
                 Registration Certification and the Drug Enforcement       not speak to storage of the compounded
                 Administration Controlled Substance Registration          drugs and does not prohibit use of
                 Certification.” The protocol also specifies that          expired drugs.
                 “refrigeration logs will be maintained” and that
                 expired drugs will be used for training purposes
                 only and will be destroyed. IDOC Protocol
                 Appendix B.
Missouri         “The manner of inflicting the punishment of death         The BOP’s 2019 Protocol mandates
                 shall be by the administration of lethal gas or by        that executions be carried out by lethal
                 means of the administration of lethal injection.”         injection. 2019 Addendum ¶ C; AR at
                 Mo. Rev. Stat. 546.720(1).                                1069.
                 The “execution team” includes a physician, nurse,         The 2019 Protocol does not require the
                 and pharmacist. MDOC Protocol at ¶A; AR at 70.            presence of a physician, nurse or
                                                                           pharmacist.
                 Missouri’s protocol requires the preparation of two       The 2019 Protocol does not provide a
                 doses of 5 grams of pentobarbital. The executioners       plan in the event the prisoner is not
                 administer the second dose if the prisoner isn’t          dead after administration of 5 grams of
                 deceased after the first dose and a consciousness         pentobarbital.
                 check. MDOC Protocol at ¶ E4; AR at 71.
                 The Missouri protocol states a presumption in favor       The 2019 Protocol does not state a
                 of peripheral IV access, calling for establishment of     preference for peripheral access and
                 a primary or secondary IV line. The primary line          does not require the presence of a
                 can be peripheral or central (femoral or subclavian       physician to establish central line
                 veins), but only if the medical personnel’s training      access.
                 includes central vein access. The secondary line is
                 to be peripheral. MDOC Protocol at ¶ C.1; AR
                 at.71.
                 Missouri’s procedures provide that the prisoner be        The 2019 Protocol does not provide for
                 offered a sedative in advance of the execution. See       pre-treatment.
                 Ringo v. Lombardi, No. 2:09-cv-4095 (W.D. Mo.
                 Jan. 21, 2011), Dist. Dkt. #210-7 (Missouri
                 “Chronological Sequence of Execution”).
South Carolina   Condemned prisoners may choose between                    The BOP’s 2019 Protocol mandates
                 electrocution and lethal injection. The default           that executions be carried out by lethal
                 execution method is electrocution; lethal injection is    injection. 2019 Addendum ¶ A; AR at
                 only used when chosen by the condemned prisoner.          1069.
                 S.C. Code § 24-3-530(A).
                 South Carolina’s lethal injection protocol calls for      The 2019 Protocol mandates that
                 administration of a different drug formula than that      executions be carried out by
                 laid out in the BOP’s 2019 Protocol. Upon                 Pentobarbital Sodium. 2019
                 information and belief, South Carolina’s current          Addendum ¶ C; AR at 1069.
                 protocol calls for serial administration of thiopental,
                 a paralytic and potassium chloride.
                 https://deathpenaltyinfo.org/executions/lethal-
                 injection/state-by-state-lethal-injection-protocols
                 (last visited 6/1/20).




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Texas         Executions shall take place “at any time after the        The BOP’s 2019 Protocol does not
              hour of 6 p.m. on the day set for the execution.”         specify a post-6 p.m. execution time.
              Tex. Code of Crim. Proc. Art. 43.14(a).
              Texas’s protocol specifies a preference for               The 2019 Protocol does not specify an
              peripheral vein access, directing the medically-          order for preferred IV access sites, does
              trained team member to look for a vein in the             not default to peripheral access and
              inmate’s arm. If a suitable vein cannot be located in     does not prohibit use of a cut-down
              the arm, the medically-trained team member is             procedure.
              directed to then look for a vein in a different part of
              the body, but “shall not use a ‘cut-down’ procedure
              to access a suitable vein.” TDCJ Protocol § VII.C;
              AR at 90.
              The Texas protocol provides that after the first          The 2019 Protocol contains no
              syringe of pentobarbital is administered, if there are    contingency plan in the event the
              still signs of life, the Director or designee can         prisoners shows signs of life following
              authorize a second injection of 5 grams of                administration of 5 grams of
              pentobarbital. TDCJ Protocol § VII.J; AR at 91.           pentobarbital.
              The Texas protocol requires the presence of a             The 2019 Protocol does not require the
              physician, who will examine the prisoner after            presence of a physician and does not
              administration of the lethal injection and pronounce      specify who declares death or how
              death. TDCJ Protocol §VII.K; AR at 91.                    death is determined.
              The Texas protocol calls for each medical                 The 2019 Protocol does not clearly
              professional on the drug team to have at least one        guarantee that any medically trained
              year of medical experience. TDCJ Protocol § IV.A.         personnel will participate in executions.
              AR at 89.                                                 Nor does it require that medically-
                                                                        trained personnel have one year of
                                                                        medical experience, allowing instead
                                                                        for them to have “necessary training
                                                                        and experience,” without any indication
                                                                        of what that is. 2019 Addendum ¶ D;
                                                                        AR at 1069.
              The Texas protocol provides that “[e]xpiration dates      The 2019 Protocol has no similar
              of all applicable items are to be checked on each         requirement.
              individual item. Outdated items shall be replaced
              immediately.” TDCJ Protocol § V.B.4; AR at 90.
              This requirement applies to both “chemicals used in
              lethal injection executions” as well as “the
              equipment and supplies necessary to perform the
              lethal injection.” TDCJ Protocol § V.B.1-2; AR at
              89.
Virginia      Virginia law provides condemned prisoners with a          The BOP’s 2019 Protocol mandates
              choice between electrocution and lethal injection.        that executions be carried out by lethal
              VA Code Ann. § 53.1-234.                                  injection. 2019 Addendum ¶ A; AR at
                                                                        1069.
              The current lethal injection protocol in Virginia         The 2019 Protocol mandates that
              calls for serial administration of 3 drugs: (1)           executions be carried out by
              midazolam (sodium thiopental or pentobarbital may         Pentobarbital Sodium. 2019
              be substituted); (2) rocuronium bromide                   Addendum ¶ C; AR at 1069.
              (pancuronium bromide may be substituted); and (3)
              potassium chloride. VADOC Operating Procedure
              3.




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      The Virginia protocol requires that a physician         The 2019 Protocol does not require the
      employed by the Virginia Department of                  presence of a physician.
      Corrections (or the physician’s assistant) be present
      during the execution. VADOC Operating Procedure
      1. The physician observes the heart monitor during
      the execution process. Id. at 11. Virginia law also
      requires a physician to pronounce death. Id.
      The Virginia protocol requires all execution team       The 2019 Protocol does not require that
      members, including medical personnel, to                medically licensed/certified personnel
      participate in trainings. The IV Team receives          participate in training.
      training from a physician at least quarterly.
      VADOC Operating Procedure 17.
      Virginia codifies the use of compounded drugs,          The 2019 Protocol does not address the
      authorizing the Director of the Department of           use of compounded drugs.
      Corrections to enter into contracts with pharmacies
      or outsourcing facilities for the compounding of
      drugs necessary to carry out an execution by lethal
      injection. Virginia Code § 53.1-234.
      Virginia’s protocol requires that the execution team    The 2019 Protocol does not require that
      verify the labels and expiration dates of the drugs     expiration dates be checked.
      before the drugs are loaded into syringes for use.
      VADOC Operating Procedure 9.
      Virginia’s protocol provides that upon medical          The 2019 Protocol does not provide for
      authorization the prisoner shall “be offered ten        pretreatment.
      milligrams of valium” prior to the execution.
      VADOC Operating Procedure 9.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

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